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                IN THE UNITED STATES DISTRICT COURT
                FOR THE MIDDLE DISTRICT OF ALABAMA
                         SOUTHERN DIVISION

QUINTON KEITH MILLER,                   )
                                        )
             Plaintiff,                 )
                                        )
                                        )
       v.                               )      CASE NO. 1:20-CV-396-WKW
                                        )                [WO]
JEFF PRATER, et al.,                    )
                                        )
             Defendants.                )

                                    ORDER

      On September 17, 2020, the Magistrate Judge filed a Recommendation to

which no timely objections have been filed. (Doc. # 18.) Upon an independent

review of the record, it is ORDERED that the Recommendation is ADOPTED and

that this action is DISMISSED without prejudice.

      Final judgment will be entered separately.

      DONE this 6th day of October, 2020.
                                                  /s/ W. Keith Watkins
                                            UNITED STATES DISTRICT JUDGE
